Case 5:19-cv-00077-GNS-LLK Document 1-4 Filed 05/22/19 Page 1 of 25 PageID #: 16


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                                     COMMONWEALTH OF KENTUCKY
                                       McCRACKEN CIRCUIT COURT
                                      Civil Action No. 19-CI-__________
                                              Division No. _____


        MARY LAWS                                                                              PLAINTIFF

                                               (Filed Electronically)
        VS.                                       COMPLAINT


        WAL-MART STORES, INC.

        serve:          C T Corporation System
                        306 West Main Street, Suite 512
                        Frankfort, KY 40601
        AND

        WAL-MART STORES EAST, LIMITED PARTNERSHIP




                                                                                                               Presiding Judge: HON. TIMOTHY KALTENBACH (602310)
        serve:          C T Corporation System
                        306 West Main Street, Suite 512
                        Frankfort, KY 40601
        AND

        WAL-MART STORES EAST, LP

        serve:          C T Corporation System
                        306 West Main Street, Suite 512
                        Frankfort, KY 40601                                                DEFENDANTS


                 Comes the Plaintiff, Mary Laws, by and through counsel, for her Complaint against the

        Defendants, Wal-Mart Stores, Inc., Wal-Mart Stores East, Limited Partnership, and Wal-Mart

        Stores East, LP (hereinafter collectively referred to as Wal-Mart) and states as follows:

                 1.     At all times herein mentioned Plaintiff was an actual and continuous resident of the

        Commonwealth of Kentucky and the acts and events complained of herein occurred within
                                                                                                               COM : 000001 of 000002




        McCracken County, Kentucky.

                 2.     At all times mentioned herein, Wal-Mart was a Foreign Corporation which is doing

        business within the Commonwealth of Kentucky by virtue of which summons should be issued



Filed                  19-CI-00255    03/22/2019          1   Kim Channell, McCracken Circuit Clerk
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        and served upon its agent for process, C T Corporation System, 306 West Main Street, Suite 512,

        Frankfort, KY 40601.

                3.     On or about May 3, 2018, Plaintiff was at Wal-Mart's business located at 5130

        Hinkleville Road, Paducah, KY 42001, when she stepped in liquid on the floor causing her to slip

        and fall.

                4.     At the time and place above mentioned, Wal-Mart negligently and recklessly failed

        to maintain its floor in a reasonable and safe condition Wal-Mart knew or should have known of

        the floor’s unsafe condition, and failed to properly warn Plaintiff of its condition.

                5.     As a result of the aforementioned negligence of Wal-Mart, Plaintiff has incurred

        bodily injuries both temporary and permanent; has been forced to incur hospital, doctor, medical

        and drug expenses and will be forced to incur same in the future; she has experienced physical and

        mental pain and suffering and will be forced to experience same in the future; she has lost wages;




                                                                                                             Presiding Judge: HON. TIMOTHY KALTENBACH (602310)
        her ability to earn money has been permanently impaired; and she has been damaged thereby.

                WHEREFORE, Plaintiff, Mary Laws, demands judgment against Defendants Wal-Mart

        Stores, Inc., Wal-Mart Stores East, Limited Partnership, and Wal-Mart Stores East, LP, jointly and

        severally, in an amount in excess of Five Thousand ($5,000.00) Dollars; a trial by jury; her costs

        incurred herein; and any and all other relief to which she may appear entitled.



                                                              RESPECTFULLY SUBMITTED,


                                                              /s/ Aaron Harper______________
                                                              AARON HARPER
                                                              MARK EDWARDS
                                                              EDWARDS & KAUTZ, PLLC
                                                              222 Walter Jetton Blvd.
                                                              P.O. Box 1837
                                                                                                             COM : 000002 of 000002




                                                              Paducah, KY 42002
                                                              (270) 442-9000
                                                              aharper@edwardsandkautz.com

                                                              ATTORNEYS FOR PLAINTIFF



Filed                  19-CI-00255    03/22/2019          2   Kim Channell, McCracken Circuit Clerk
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 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                 County: MCCRACKEN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, LAWS, MARY VS. WAL-MART STORES, INC., ET AL, Defendant


    TO: C T CORPORATION SYSTEM
        306 WEST MAIN STREET, SUITE 512
        FRANKFORT, KY 40601
Memo: Related party is WAL-MART STORES EAST, LP

The Commonwealth of Kentucky to Defendant:
WAL-MART STORES EAST, LP

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. TIMOTHY KALTENBACH (602310)
document delivered to you with this Summons.




                                                         McCracken Circuit Clerk
                                                         Date: 3/22/2019




                                                 Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
     To:

 Not Served because:
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   Date:                        , 20
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Summons ID: @00000152234
CIRCUIT: 19-CI-00255 Certified Mail
LAWS, MARY VS. WAL-MART STORES, INC., ET AL

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 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                 County: MCCRACKEN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, LAWS, MARY VS. WAL-MART STORES, INC., ET AL, Defendant


    TO: C T CORPORATION
        306 WEST MAIN STREET, SUITE 512
        FRANKFORT, KY 40601
Memo: Related party is WAL-MART STORES EAST, LIMITED PARTNERSHIP

The Commonwealth of Kentucky to Defendant:
WAL-MART STORES EAST, LIMITED PARTNERSHIP

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. TIMOTHY KALTENBACH (602310)
document delivered to you with this Summons.




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LAWS, MARY VS. WAL-MART STORES, INC., ET AL

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 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                 County: MCCRACKEN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, LAWS, MARY VS. WAL-MART STORES, INC., ET AL, Defendant


    TO: C T CORPORATION SYSTEM
        306 WEST MAIN STREET, SUITE 512
        FRANKFORT, KY 40601
Memo: Related party is WAL-MART STORES, INC.

The Commonwealth of Kentucky to Defendant:
WAL-MART STORES, INC.

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. TIMOTHY KALTENBACH (602310)
document delivered to you with this Summons.




                                                         McCracken Circuit Clerk
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     To:

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LAWS, MARY VS. WAL-MART STORES, INC., ET AL

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                                     COMMONWEALTH OF KENTUCKY
                                      MCCRACKEN CIRCUIT COURT
                                       CIVIL ACTION NO. 19-CI-00255

                                               Filed Electronically

        MARY LAWS                                                                            PLAINTIFF

        v.                          ANSWER TO PLAINTIFF’S COMPLAINT

        WAL-MART STORES, INC.,
        WAL-MART STORES EAST, LIMITED
        PARTNERSHIP, and
        WAL-MART STORES EAST, LP                                                         DEFENDANTS

                                                      *****

               Defendants, Wal-Mart Stores, Inc., Wal-Mart Stores East, Limited Partnership, Wal-Mart

        Stores East, LP (hereinafter collectively referred to as “Wal-Mart”), by counsel, for their Answer

        to the Complaint of Plaintiff, Mary Laws (“Plaintiff”), state as follows:

                                                FIRST DEFENSE

               Wal-Mart states that Plaintiff’s Complaint fails to state a claim against Wal-Mart Stores,

        Inc. upon which relief may be granted and, therefore, should be dismissed and held for naught.

                                              SECOND DEFENSE

               Wal-Mart states that on the occasion complained of in Plaintiff’s Complaint, Plaintiff,

        Mary Laws, caused her own damages, through her own negligence and Wal-Mart raises this as

        an affirmative defense.

                                               THIRD DEFENSE

               Wal-Mart states that the damages complained of by Plaintiff, if any, were caused and
                                                                                                             ANS : 000001 of 000003




        brought about by a superseding and/or intervening cause, not under the control of Wal-Mart and

        Wal-Mart pleads and relies upon same as a complete bar to Plaintiff’s Complaint.




Filed                 19-CI-00255     04/10/2019             Kim Channell, McCracken Circuit Clerk
   Case 5:19-cv-00077-GNS-LLK Document 1-4 Filed 05/22/19 Page 16 of 25 PageID #: 31
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                                             FOURTH DEFENSE

               The damages and claims asserted by Plaintiff against Wal-Mart may have been caused, in

        whole or in part, by the negligence of third parties over whom Wal-Mart has no control or for

        whom Wal-Mart has no liability. Such negligence is a substantial contributing factor in causing

        Plaintiff’s claims against Wal-Mart and Wal-Mart is entitled to indemnity, contribution, set-off,

        and apportionment as a result of such negligence.

                                               FIFTH DEFENSE

               1.      Wal-Mart is without sufficient information to admit or deny the averments

        contained in numerical paragraphs 1 and 3 of Plaintiff’s Complaint and, therefore, denies same.

               2.      In response to the averments contained in numerical paragraph 2 of Plaintiff’s

        Complaint Wal-Mart affirmatively pleads that Wal-Mart Stores, Inc is an inactive foreign

        corporation and that Wal-Mart Stores East, Limited Partnership is a foreign ULPA. Wal-Mart

        denies Wal-Mart Stores, Inc. operated the store in question. With regard to any remaining

        averments contained in numerical paragraph 2 of Plaintiff’s Complaint, Wal-Mart is without

        sufficient information to admit or deny the remaining averments in numerical paragraph 2 of

        Plaintiff’s Complaint and, therefore, denies same.

               3.      Wal-Mart denies the averments contained in numerical paragraphs 4 and 5 of

        Plaintiff’s Complaint.

               4.      Wal-Mart denies all averments not expressly admitted.

               WHEREFORE, Defendants, Wal-Mart Stores, Inc., Wal-Mart Stores East, Limited

        Partnership, and Wal-Mart Stores East, LP, pray that Plaintiff’s Complaint be dismissed and held
                                                                                                            ANS : 000002 of 000003




        for naught, that all fault be apportioned pursuant to KRS 411.182, for their costs herein

        expended, and for any and all other relief to which they may appear reasonably entitled.




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   Case 5:19-cv-00077-GNS-LLK Document 1-4 Filed 05/22/19 Page 17 of 25 PageID #: 32
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                                                    Respectfully submitted,


                                                    /s/Felix H. Sharpe II
                                                    Christopher R. Cashen
                                                    DINSMORE & SHOHL LLP
                                                    250 W. Main Street, Suite 1400
                                                    Lexington, Kentucky 40507
                                                    T: (859) 425-1000
                                                    chris.cashen@dinsmore.com

                                                    and

                                                    Felix H. Sharpe II
                                                    Dinsmore & Shohl LLP
                                                    101 S. Fifth Street, Suite 2500
                                                    Louisville, KY 40202
                                                    Telephone: (502) 540-2300
                                                    felix.sharpe@dinsmore.com

                                                    Counsel for Defendants,
                                                    Wal-Mart Stores, Inc., Wal-Mart Stores East,
                                                    Limited Partnership, and Wal-Mart Stores East, LP

                                       CERTIFICATE OF SERVICE

                It is hereby certified that a copy of the foregoing was filed by the Kentucky Court of
        Justice eFiling system and served upon the following via U.S. Mail, postage prepaid this 10th day
        of April, 2019:

        AARON HARPER
        MARK EDWARDS
        EDWARDS & KAUTZ, PLLC
        222 Walter Jetton Blvd.
        P.O. Box 1837
        Paducah, Kentucky 42002
        (270) 442-9000
        aharper@edwardsandkautz.com
        Counsel for Plaintiff                                                                               ANS : 000003 of 000003



                                                            /s/Felix H. Sharpe II
                                                            Counsel for Defendants
        14767197v1




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                                     COMMONWEALTH OF KENTUCKY
                                      MCCRACKEN CIRCUIT COURT
                                       CIVIL ACTION NO. 19-CI-00255

        MARY LAWS                                                                             PLAINTIFF


        v.                                  WALMART INC.’S
                                    NOTICE OF SERVICE OF DISCOVERY


        WAL-MART STORES, INC.,
        WAL-MART STORES EAST, LIMITED
        PARTNERSHIP, and
        WAL-MART STORES EAST, LP                                                          DEFENDANTS

                                                     *****

               Defendant, Walmart Inc. (“Wal-Mart”), by counsel, hereby serves notice that on April

        18th, 2019, it served its First Set of Requests for Admissions and First Set of Interrogatories and

        Requests for Production of Documents upon the Plaintiff, Mary Laws.

                                                     Respectfully submitted,


                                                     /s/Felix H. Sharpe II
                                                     Christopher R. Cashen
                                                     DINSMORE & SHOHL LLP
                                                     250 W. Main Street, Suite 1400
                                                     Lexington, Kentucky 40507
                                                     T: (859) 425-1000
                                                     chris.cashen@dinsmore.com

                                                     and

                                                     Felix H. Sharpe II
                                                     Dinsmore & Shohl LLP
                                                     101 S. Fifth Street, Suite 2500
                                                     Louisville, KY 40202
                                                                                                              NO : 000001 of 000002




                                                     Telephone: (502) 540-2300
                                                     felix.sharpe@dinsmore.com

                                                     Counsel for Defendant,
                                                     Walmart Inc.



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                                        CERTIFICATE OF SERVICE

                This is to certify that a true and correct copy of the foregoing has been served upon the

        following, by U.S. Mail, on this the 18th day of April, 2019:

        Aaron Harper
        Mark Edwards
        EDWARDS & KAUTZ, PLLC
        222 Walter Jetton Blvd.
        P. O. Box 1837
        Paducah, Kentucky 42002
        (270) 442-9000
        aharper@edwardsandkautz.com
        Counsel for Plaintiff


                                                             /s/Felix H. Sharpe II
                                                             Counsel for Defendant
        14872146v1




                                                                                                            NO : 000002 of 000002




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                                  COMMONWEALTH OF KENTUCKY
                                   MCCRACKEN CIRCUIT COURT
                                    CIVIL ACTION NO. 19-CI-00255

     MARY LAWS                                                                             PLAINTIFF


     v.                          AGREED ORDER OF SUBSTITUTION


     WAL-MART STORES, INC.,
     WAL-MART STORES EAST, LIMITED
     PARTNERSHIP, and
     WAL-MART STORES EAST, LP                                                          DEFENDANTS

                                                  *****

            The parties having reached an agreement that the identity of the proper Wal-Mart entity

     responsible for the store at issue is Wal-Mart Stores East, Limited Partnership, and the Court

     having fully considered same;

            IT IS HEREBY ORDERED that Wal-Mart Stores East, Limited Partnership shall be

     substituted for Walmart Stores, Inc. and Wal-Mart Stores East, LP, in all pleadings in this matter.

     All of Plaintiffs’ claims against Walmart Stores, Inc. and Wal-Mart Stores East, LP are hereby

     dismissed with prejudice. Plaintiffs’ claims against Wal-Mart Stores East, Limited Partnership

     remain.

            So ordered this the ___ day of __________, 2019.




                                           ______________________________________
                                                                                                           TD : 000001 of 000002




                                           JUDGE, McCRACKEN CIRCUIT COURT




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     HAVE SEEN AND AGREED TO:

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                                     COMMONWEALTH OF KENTUCKY
                                       McCRACKEN CIRCUIT COURT
                                       CIVIL ACTION NO. 19-CI-00255
                                              DIVISION NO. I


        MARY LAWS                                                                            PLAINTIFF

        VS.

        WAL-MART STORES EAST, LIMITED PARTNERSHIP                                          DEFENDANT


                                    NOTICE OF CHANGE OF ADDRESS


               The undersigned counsel at the law firm of Dinsmore & Shohl LLP hereby notify the

        Court and all parties in this action that the Lexington, Kentucky office is moving to the following

        address:


               Dinsmore & Shohl, LLP
               City Center
               100 West Main Street
               Suite 900
               Lexington, Kentucky 40507

               This address change is effective as of May 10, 2019. The firm’s telephone and facsimile

        numbers, however, will not change. The Louisville, Kentucky office address remains the same.




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   Case 5:19-cv-00077-GNS-LLK Document 1-4 Filed 05/22/19 Page 25 of 25 PageID #: 40
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                                                    Respectfully submitted,


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                                                    Counsel for Defendants,
                                                    Wal-Mart Stores, Inc., Wal-Mart Stores East,
                                                    Limited Partnership, and Wal-Mart Stores East, LP

                                       CERTIFICATE OF SERVICE
               It is hereby certified that a copy of the foregoing was served upon the following via U.S.
        Mail, postage prepaid this 1st day of May, 2019:

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